                              UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In re:

ANGELA SWORD LEWIS                                                Chapter 7
THOMAS K. LEWIS                                                   Case No. 11-44385-SWD
                                                                  Hon. Walter Shapero
         Debtors.
                                                 /

CHAPTER 7 TRUSTEE’S OBJECTION TO DEBTORS’ AMENDED CLAIM OF EXEMPTIONS

         NOW COMES Chapter 7 Trustee, Timothy J. Miller, by and through its attorneys, OSIPOV

BIGELMAN, P.C., and states as follows:

                                          Jurisdictional Basis

                          Objection to Debtor’s Amended Claim of Exemption

         1.     This is a contested matter brought pursuant to B.R. 4003(b), 11 USC 542 and B.R. 9014.

         2.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(B), over which this Court has

jurisdiction pursuant to 28 U.S.C. § 157(b)(1) and 28 U.S.C. § 1334.

                                          General Allegations

         3.     Timothy J. Miller is the duly appointed and acting Trustee in this case.

         4.     Debtors filed for Chapter 7 Bankruptcy protection on February 22, 2011.

          5.    The Debtors bankruptcy schedules contained numerous omissions, including, but not

limited to:

                A.      Schedule B- Paragraph 18- The Debtors failed to schedule State and Federal

                        Income Tax Refunds totaling $9,978.00;

                B.      Schedule B- Upon information and belief, the Debtors failed to schedule all of

                        their personal property, scheduling only $4,301.00 of assets, when their

                        retirement accounts and their vehicle are excluded, while attempting to discharge

                        $366,247.84 of unsecured debt;




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                C.       Schedule F- The Debtors failed to schedule a debt owing to Jim and Blanche

                         Sword, who are the parents of Angela Sword Lewis, and insiders as defined by

                         Section 101 of the Bankruptcy Code.

         6.     On March 30, 2011, the Debtors attended their First Meeting of Creditors.

         7.     At the First Meeting of Creditors, only after questioning by the Trustee did the Debtors

finally disclose that they had received an income tax refund of approximately $10,000.00 and that they

had a cashier’s check issued to their parents to repay the previously undisclosed and unscheduled debt to

them.

         8.     On April 1, 2011, the Trustee filed a Report of Undisclosed Assets.

         9.     Upon information and belief, the Debtors transferred the proceeds from the income tax

refund to Jim and Blanche Sword.

         10.    On April 28, 2011, the Trustee requested the Debtors turnover the following documents:

                A.       2010 Income Taxes for both Debtors;

                B.       Any and all documentation evidencing the disposition of Angela’s 2010
                         Income Tax Refund.

The Debtors ignored this request in violation of their duties under Section 521 of the Bankruptcy Code.

        11.    On May 3, 2011, the Debtors’ filed amended schedules claiming an exemption in the
previously undisclosed income tax refund, and for the first time listing Jim and Blanche Sword as
creditors.

        12.     The Debtors’ claim of exemption is improper as it was not scheduled, despite the fact that
they had received income tax refunds in past years.

       13.      Upon information and belief, their income tax returns were filed prior to the filing of their
bankruptcy petition.

       14.      When the Debtors took the proceeds from their income tax refund, and transferred the
proceeds to Jim and Blanche Sword, it lost its character as an income tax refund.

       15.     But for the questioning of the Trustee at the First Meeting of Creditors, the Trustee would
have had no knowledge of the asset of the estate, or the subsequent post petition transfer.

       16.      On May 31, 2011, Trustee sought concurrence for the relief requested pursuant to LBR
9014-1(g), but concurrence was not granted.
                                            Brief in Support




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        The Trustee relies upon 11 U.S.C. § 522 and all interpretive case law in support of his objections.

        WHEREFORE, the Trustee respectfully requests this Honorable Court to grant the relief more

fully set forth in the Order attached hereto as Exhibit A, and deny the claim of exemption in its entirety.



                                                  Respectfully Submitted,

                                                  OSIPOV BIGELMAN, P.C.


Date: May 31, 2011                                /s/ Jeffrey H. Bigelman
                                                  JEFFREY H. BIGELMAN (P61755)
                                                  Attorneys for Trustee
                                                  20700 Civic Center Drive, Suite 310
                                                  Southfield, MI 48076
                                                  Tel: (248) 663-1800 / Fax: (248) 663-1801
                                                  E-mail: jhb_ecf@osbig.com




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                         UNITED STATES BANKRUPTCY COURT
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THOMAS K. LEWIS                                             Case No. 11-44385-SWD
                                                            Hon. Walter Shapero
         Debtors.
                                             /

                         ORDER GRANTING
  CHAPTER 7 TRUSTEE’S OBJECTION TO DEBTORS’ CLAIM OF EXEMPTIONS

         THIS MATTER having come before the Court pursuant to Chapter 7 Trustee’s Objection

to Debtors’ Claim of Exemptions, notice thereof having been served on Debtors’ attorney and

the Debtors pursuant to applicable bankruptcy rules, no objection or request for hearing having

been made or filed in response thereto, and the Court being duly advised in the premises:

         IT IS HEREBY ORDERED that the Debtors’ amended claim of exemption in the 2010

Income Tax Refund of Angela Sword Lewis is denied in its entirety.




                                          EXHIBIT A




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                              UNITED STATES BANKRUPTCY COURT
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In re:

ANGELA SWORD LEWIS                                              Chapter 7
THOMAS K. LEWIS                                                 Case No. 11-44385-SWD
                                                                Hon. Walter Shapero
         Debtors.
                                                 /

                            NOTICE OF
  CHAPTER 7 TRUSTEE’S OBJECTION TO DEBTORS’ CLAIM OF EXEMPTIONS

      Chapter 7 Trustee, Timothy J. Miller, has filed an Objection to Debtors’ Claim of
Exemptions.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

       If you do not want the Court to grant the Motion, or if you want the Court to consider
your views on the Motion, within fourteen (14) days from the date of service of the Motion, you
or your attorney must:

         1.        File with the Court a written response or an answer, explaining your position at:1

                                      United States Bankruptcy Court
                                           211 West Fort Street
                                            Detroit, MI 48226

         If you mail your response to the Court for filing, you must mail it early enough so the
         Court will receive it within the above-referenced time period.


         2.        Mail a copy to:
                                        Jeffrey H. Bigelman, Esq.
                                       OSIPIOV BIGELMAN, P.C.
                                     20700 Civic Center Dr. Suite 310
                                       Southfield, Michigan 48076

       3.      If a response or answer is timely filed and served, the clerk will schedule a
hearing on the Motion and you will be served with a notice of the date, time, and location of the
         1
             Response or answer must comply with F.R.Civ.P.8(b)(c) and (e)




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hearing.

        If you or your attorney do not take these steps, the Court may decide that you do
not oppose the relief sought in the motion or objection and may enter an order granting
that relief.

                                         Respectfully Submitted,

                                         OSIPOV BIGELMAN, P.C.


Date: May 31, 2011                       /s/ Jeffrey H. Bigelman
                                         JEFFREY H. BIGELMAN (P61755)
                                         Attorneys for Trustee
                                         20700 Civic Center Drive, Suite 310
                                         Southfield, MI 48076
                                         Tel: (248) 663-1800 / Fax: (248) 663-1801




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THOMAS K. LEWIS                                               Case No. 11-44385-SWD
                                                              Hon. Walter Shapero
         Debtors.
                                               /

                                  CERTIFICATE OF SERVICE

         I, Jeffrey H. Bigelman, hereby certify that on May 31, 2011, I electronically filed (1)

Chapter 7 Trustee’s Objection to Debtors’ Claim of Exemptions; (2) Proposed Order; (3) 14-day

Notice; and (4) Certificate of Service with the Clerk of the Court using the ECF system and First

Class Mail:


         Office of the U.S. Trustee                           Dale Smith, Esq.
         211 W. Fort Street, Suite 700                        Attorney for Debtors
         Detroit, MI 48226                                    1893 West Maumee St
                                                              Adrian, MI 49221

         Angela Sword Lewis                                   Thomas K. Lewis
         560 Meadowbrook                                      1016 Lincoln, Apt. 1
         Adrian, MI 49221                                     Bettendorf, IA 52722



                                               Respectfully Submitted,

                                               OSIPOV BIGELMAN, P.C.


Date: May 31, 2011                             /s/ Jeffrey H. Bigelman
                                               JEFFREY H. BIGELMAN (P61755)
                                               Attorneys for Trustee
                                               20700 Civic Center Drive, Suite 310
                                               Southfield, MI 48076
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